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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES                                    *


vs.                                              *   Case No.: 22-15 APM


THOMAS E. CALDWELL                               *


       *      *       *      *       *       *       *     *      *        *       *


       CALDWELL’S UNOPPOSED MOTION TO CONTINUE SENTENCING
       COMES NOW, Thomas E. Caldwell, by and through counsel, David W. Fischer, Esq.,

and respectfully moves this Court to continue his sentencing, currently scheduled for April 4,

2024, pending the resolution of United States v. Fischer, No. 23-5572, currently pending

before the U.S. Supreme Court, a decision that will determine whether 18 U.S.C. §

1512(c)(2) applies to his conduct upon which he was convicted. Additionally, the instant

request is based upon the D.C. Circuit’s recent decision in United States v. Brock, No. 23-

3045, 2024 WL 875795, at *8 (D.C. Cir. Mar. 1, 2024) (holding that, for purposes of

U.S.S.G. §2J1.2, the phrase “administration of justice” does not include Congress’s

certification of the Electoral College). Caldwell requests that the Court reschedule his

sentencing until late July 2024. Notably, the Government, per Assistant U.S. Attorney

Kathryn Rakoczy, has changed its previous position and now does not oppose Caldwell’s

request to continue the sentencing in the instant case.

       Although the Court denied Caldwell’s previous request to stay his sentencing based

upon Fischer, circumstances have changed as a result of 1) the Brock decision; and 2) the

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Government’s decision to not oppose the instant request. Additionally, the Court granted a

similar request made by co-defendant Donovan Crowl. See United States v. Crowl (ECF

1080). Mr. Crowl’s sentencing was continued until July 25, 2024.

       Respectfully, Caldwell’s sentencing should be continued for the same reasons that

Crowl’s sentencing was continued. First, Fischer will very likely be decided in June, and

that decision could potentially result in Caldwell being acquitted of the most serious count

against him. Second, the Brock decision will require the PSR author to recalculate the

sentencing guidelines to account for a reduction of 11 levels required by Brock, which

potentially could raise a multitude of complicated issues at sentencing.1 Caldwell’s

sentencing guidelines will be substantially reduced and potentially close to—and perhaps in--

Zone C of the guidelines. Third, the PSR does not include a definitive guidelines calculation

for Caldwell’s other count of conviction (evidence tampering obstruction) as that count is

grouped with the Electoral College certification obstruction count. If Fischer is decided in

Caldwell’s favor, the Court will require input from the PSR author as to recommended

sentencing guidelines as to evidence tampering obstruction. Finally, a continuance of the

sentencing hearing will preserve judicial resources and costs for the Court, U.S. Probation,




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  The impact of the Brock decision alone suggests that a stay of the proceedings is prudent. For
example, based upon Caldwell’s request for a “role reduction” coupled with the 11-level
reduction mandated by Brock, and depending on how the Court rules on Caldwell’s objections to
guidelines issues such as “scope and planning,” “leadership,” “acceptance of responsibility,” and
“obstruction of justice,” it is possible that the Electoral College certification obstruction count
guidelines range will be lower than the evidence tampering obstruction count guidelines, which
would require that the former be “grouped” into the latter guidelines. Lengthy briefing and
arguments over these issues—and a reworking of the PSR by U.S. Probation—will be
unnecessary if Fischer is decided favorably vis-à-vis Caldwell.
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and Caldwell, avoid duplication of efforts and unnecessary arguments for all concerned, and

a potential resentencing later.

                                       CONCLUSION

   Caldwell, without objection from the Government, respectfully requests that the Court

continue his sentencing until late July 2024, i.e., after the Supreme Court resolves the

applicability of 18 U.S.C. § 1512(c)(2) to Caldwell’s conduct on January 6, 2021.




                                                   Respectfully Submitted,

                                                   ________/s/__________________
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                              CERTFICATE OF SERVICE


       I HEREBY CERTIFY that on this 20th day of March, 2024, a copy of the foregoing
Unopposed Motion to Continue Sentencing was electronically filed with the Clerk of the
United States District Court using CM/ECF, with a notice of said filing to the following:



Counsel for the Government:               Kathryn Rakoczy, AUSA
                                          Troy Edwards, AUSA
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                                                 ______/s/_____________________
                                                 David W. Fischer, Esq.




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